 Case: 1:15-cr-00260 Document #: 156 Filed: 05/23/17 Page 1 of 1 PageID #:566

                    UNITED STATES DISTRICT COURT
         FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.1.1.2
                               Eastern Division

UNITED STATES OF AMERICA
                                          Plaintiff,
v.                                                         Case No.: 1:15−cr−00260
                                                           Honorable Jorge L. Alonso
David Colletti, et al.
                                          Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, May 23, 2017:


       MINUTE entry before the Honorable Jorge L. Alonso as to David Colletti: Status
hearing held. Notice mailed by judge's staff (ntf, )




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